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                                                                                                       E-FILED
                                                                       Friday, 04 January, 2019 03:28:41 PM
                                                                               Clerk, U.S. District Court, ILCD

                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE CENTRAL DISTRICT OF ILLINOIS

AARON O’NEAL #N53022,                         )
                                              )
        Plaintiff,                            )            Case No. 18-CV-4063
                                              )
vs.                                           )
                                              )
MANUEL ROJAS, et al.,                         )
                                              )
        Defendants.                           )

                     DEFENDANTS LAHOOD AND RODRIGUEZ’S RESPONSE TO
                       MOTION FOR LEAVE TO FILE AMENDED COMPLAINT

        NOW COME the Defendants, JOSEPH LAHOOD and ROBERT RODRIGUEZ, by and

through their attorney, Brad W. Keller of HEYL, ROYSTER, VOELKER & ALLEN, and for their

Response to the Motion for Leave to File Amended Complaint (ECF #45), state as follows:

         These Defendants have previously filed an Answer and Affirmative Defenses to the

Complaint filed by Plaintiff, Aaron O’Neal (who was pro se at the time). Plaintiff, who is now

represented by attorneys, now seeks leave to file an Amended Complaint. The Amended Complaint

states that the Complaint is brought pursuant to 42 U.S.C. Section 1983 and contains several causes

of action.

         As the proposed Amended Complaint is based upon Section 1983, these Defendants wish

to file a Response to the Motion for Leave to File Amended Complaint objecting to the Motion for

the record as Defendants are not state actors. Defendants LaHood and Rodgriguez are not state

actors and therefore deny that any proposed claims against them would rise to the level of a

constitutional claim under Section 1983. A federal civil rights claim of the type Plaintiff seeks to

assert requires some form of government action. Plaintiff must establish that a person acting




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under color of law, deprived him of a right or privilege secured by the Constitution. Parratt v.

Taylor, 451 U.S. 527, 535 (1981); Ashcroft v. Iqbal, 556 U.S. 662 (2009); Arnett v. Webster, 658 F.3d

742,750 (7th Cir. 2011). A review of the proposed Complaint reveals that Plaintiff fails to do so as

to Defendants LaHood and Rodriguez, who are deacons that volunteer at the DOC facilities.

Given that there is no showing in the proposed Complaint that these Defendants are state

actors, the Court should not allow leave as to those Defendants.

         WHEREFORE, for the above and foregoing reasons, the Defendants, JOSEPH LAHOOD

and ROBERT RODRIGUEZ, respectfully request this honorable Court deny Plaintiff’s Motion for

Leave to File an Amended Complaint as to Defendants LaHood and Rodriguez, and for such

further relief as the Court deems appropriate.

                                              JOSEPH LAHOOD and ROBERT RODRIGUEZ


                                              BY:________s/ Brad W. Keller__________
                                              HEYL, ROYSTER, VOELKER & ALLEN
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                                       PROOF OF SERVICE

        I hereby certify that on January 4, 2019, I electronically filed the foregoing instrument
with the Clerk of the Court using the CM/ECF system which will send notification of such filing to
the attorneys of record in this case.

                                                            BY:_____s/ Brad W. Keller__________
                                                                      Brad W. Keller




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